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AO91 (Rev. 12/03) Criminal Complaint                                                          AUSA

                                 UNITED STATES DISTRICT COURT

                                            Southern District Of Texas Brownsville Division

UNITED STATES OF AMERICA                                                    CRIMINAL COMPLAINT
            vs.
                                                                             Case Number: 1:15-po-1803
Israel AVILA-Aguilar
 A094 792 318 Mexico




           I, the undersigned complainant state that the following is true and correct to the best of my

knowledge and belief. On or about        December 15, 2015        in                 Cameron                  County, in

the                                         Southern District Of Texas                                           defendant(s)
being then and there an alien, did, willfully, knowingly and unlawfully enter the United States at a time or place other than
designated by an Immigration Officer,




in violation of Title              8                United States Code, Section(s)                          1325(a)(1)

I further state that I am a(n)                  Border Patrol Agent                    and that this complaint is based on the
following facts:
The defendant was apprehended in Brownsville, Texas on December 15, 2015. The defendant is a citizen of Mexico who entered
the United States illegally by swimming across the Rio Grande River near Brownsville, Texas on December 15, 2015 thus
avoiding immigration inspection.


Defendant had no money at the time of arrest.

I DECLARE UNDER PENALTY OF PERJURY THAT THE STATEMENTS IN THIS COMPLAINT ARE TRUE AND
CORRECT.

Continued on the attached sheet and made a part of this complaint:                 Yes             No


                                                                              /S/ Juarez, Jesus Border Patrol Agent
                                                                              Signature of Complainant

                                                                              Juarez, Jesus        Border Patrol Agent
                                                                              Printed Name of Complainant
Sworn to before me and signed in my presence,

December 16, 2015                                                      at     Brownsville, Texas
Date                                                                          City/State


Ronald Morgan                          U.S. Magistrate Judge
Name of Judge                                Title of Judge                   Signature of Judge
